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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 15-0091-04


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 DECARRIOUS B. JENKINS                            *     MAG. JUDGE KAREN L. HAYES
 a/k/a “Rick James”

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Upon reference of the District Court pursuant to 28 U.S.C. § 636(b), and with the written

and oral consent of the defendant, this cause came before the undersigned U. S. Magistrate Judge

on August 10, 2015, for administration of guilty plea and allocution of the defendant, Decarrious

B. Jenkins under Rule 11 of the Federal Rules of Criminal Procedure. Defendant was present

with his counsel, Ms. Shelley Goff.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Count One of

the Indictment, is fully supported by a written factual basis for each of the essential elements of

the offense. In addition, both the government and the defendant have waived their right to object

to the report and recommendation. Accordingly,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

defendant, Decarrious B. Jenkins, in accordance with the terms of the plea agreement filed in the

record of these proceedings, and that Decarrious B. Jenkins be finally adjudged guilty of the

offense charged in Count One of the Indictment.

       IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to
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object, that the District Court immediately adopt the report and recommendation without passage

of the customary delays.

       In Chambers, at Monroe, Louisiana, this 10th day of August 2015.



                                                   __________________________________
                                                   KAREN L. HAYES
                                                   UNITED STATES MAGISTRATE JUDGE
